                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA
                            CHARLESTON DIVISION

BERKELEY COUNTY SCHOOL
DISTRICT,

                       Plaintiff,

v.                                             CIVIL ACTION NO. 2:18-cv-00151-DCN

HUB INTERNATIONAL LIMITED,
HUB INTERNATIONAL MIDWEST LIMITED,
KNAUFF INSURANCE AGENCY, INC.,
STANLEY J. POKORNEY,
SCOTT POKORNEY, and
BRANTLEY THOMAS,

                       Defendants.


                                AMENDED COMPLAINT

       COMES NOW Plaintiff, the Berkeley County School District, by counsel, and for

its Amended Complaint against Defendants, states as follows:

                                     INTRODUCTION

       This case arises out of a series of insidious schemes hatched by Defendants Hub

International Limited, Hub International Midwest Limited (“Hub”); Knauff Insurance

Agency, Inc. (“Knauff”); Stanley J. Pokorney (“Pokorney”); and Scott Pokorney (“Scott

Pokorney”) (hereinafter the “Insurance Defendants”), in concert with Defendant Brantley

Thomas (“Thomas”), the former Chief Financial Officer of the Berkeley County School

District (the “District”), to defraud the District and its children out of tens of millions of

taxpayer dollars over the course of many years. Thomas and the Insurance Defendants

fully concealed the schemes from the District, and they were not discovered until after

February 6, 2017, when officials from the Federal Bureau of Investigation (“FBI”) and



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Wells Fargo Bank met with officials of the District and informed them that Thomas –

who served as the District’s Chief Financial Officer and had worked for the District since

1993 - was under federal investigation for misappropriation of public funds. The District

terminated Thomas’ employment the next day. Since that time, the District has learned

that over a period of many years, Thomas engaged in a pervasive scheme of corruption,

in which he embezzled and misappropriated District funds, demanded and accepted

multiple illegal kickbacks, and exposed the District to exorbitant fees and losses that have

cost the taxpayers of Berkeley County tens of millions of dollars. It was not until the

February 2017 meeting with the FBI that Thomas’ schemes to enrich himself at the

expense of the District began to come to light.

       Among the Thomas’ myriad schemes that the District unearthed after the

February 2017 meeting with the FBI were those hatched by Thomas in concert with Hub;

Hub’s predecessor, Knauff; and Pokorney, who served as an officer in both corporations.

Pokorney had served as the District’s insurance consultant and broker since at least 1993.

During this period, and at least since 2005, Thomas, Pokorney, and other agents of

Knauff and Hub conspired and engaged in multiple schemes in which Thomas helped the

Insurance Defendants obtain the District’s insurance business for consulting and

conducting insurance reviews, in exchange for which they paid Thomas illegal kickbacks

in the form of cash, expensive hotel accommodations and dinners, and elaborate spa

treatments. The Insurance Defendants were eager allies with Thomas, and they were

more than willing to breach their fiduciary duties to the District and engage in fraud to

garner and maintain the District’s insurance business.




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       As the District’s insurance consultants, the Insurance Defendants were charged

with fiduciary duties of loyalty and good faith, which required them to use their office

and expertise to provide prudent counsel to the District, and to advise against the

purchase of unnecessary and duplicative insurance policies. Instead, they breached their

fiduciary responsibilities and defrauded the District, in exchange for access to millions of

dollars in public funds, thereby depriving the District and the taxpayers of Berkeley

County of the honest services of its Chief Financial Officer.         With Thomas’ loyal

assistance, secured by a long series of illegal kickbacks, the Insurance Defendants

repeatedly and secretly breached their duties to the District by advising the District to

purchase insurance policies that Defendants knew were excessive and not necessary to

protect the District from risk, and charging sham broker’s and consulting fees for

management of insurance and insurance reviews.

       Thomas is now being prosecuted for his participation in the schemes with

Defendants Hub, Knauff, and Pokorney to defraud the District. On December 7, 2017,

the United States Attorney for the District of South Carolina filed an Information in

which it charged Thomas with ten counts of Wire Fraud arising out the illegal kickbacks

he received from an insurance agent. The Information, detailed below, charges that

between 2010 and 2016, Thomas received illegal kickbacks from an insurance agency in

the amount of $32,000.00 in increments of $2,000.00. Thomas has admitted to and has

plead guilty to the charges in the Information.       Upon information and belief, that

insurance company is Hub, and the employee who made the illegal payments is

Pokorney.




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       As alleged herein, however, the conspiracy between the Insurance Defendants and

Thomas and the kickbacks paid by the Insurance Defendants to Thomas began long

before 2010.    For instance, Thomas has also been indicted on multiple counts of

Embezzlement by a South Carolina Grand Jury relating to other nefarious acts committed

by him while he was the District’s CFO. Among the charges listed in the Indictment is a

count for embezzlement of approximately $22,700.00 in public school funds which

asserts that on November 29, 2007, Thomas deliberately caused the Berkeley County

School District to overpay a vendor, and then had the vendor send a refund of the

overpayment to his home address, at which time Thomas converted the funds to his

personal use. Upon information and belief, the vendor to which the charge refers is

Knauff/Hub, and Pokorney was the Knauff/Hub employee who deliberately sent the

refund to Thomas’ home address.

       As detailed herein, the Insurance Defendants’ position of trust as the District’s

insurance consultants, coupled with their kickbacks to Thomas, provided them with

perfect cover for their predatory practices. Under the guise of helping the District protect

itself from risk and loss of property, the Insurance Defendants, with Thomas’ assistance,

were able to shroud themselves in a cloak of virtue for years.     The veil now has been

lifted to expose years of insidious opportunism, with unbridled greed as the Insurance

Defendants’ true motivator. At a time when resources for public education are scarce and

educators are overworked and underpaid, these Defendants intentionally and willfully

defrauded the District and its children of precious funds that could have been used to hire

new teachers, purchase supplies and equipment, and improve facilities. Through this

action, the District seeks compensatory, treble, and punitive damages, along with




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attorneys’ fees and costs, for the tortious conduct of these fiduciaries, who lined their

pockets at the expense of the children of Berkeley County for many years.


                                         PARTIES

1.     Plaintiff, Berkeley County School District, is a body politic and corporate of the

State of South Carolina within the meaning of S.C. Code Ann. § 59-17-10, and in that

capacity is authorized to bring this action.

2.     At times relevant herein, Knauff was a North Carolina corporation with its

principal offices located at 1001 Moorehead Square Drive, Suite 400, Charlotte, North

Carolina 28203, and operated as an insurance agency and brokerage firm.           Knauff

provided insurance brokerage and consulting services to the District from 2001 to 2012.

3.     Defendant Hub International Limited is an international insurance brokerage firm

incorporated in Delaware with its principal office located at 300 North LaSalle Street,

Chicago, Illinois.    Hub International Limited includes in excess of 400 integrated

brokerages across North America. Hub International Limited is not licensed by the South

Carolina Department of Insurance to conduct insurance business in South Carolina and is

not registered to do business in South Carolina.

4.     Defendant Hub International Midwest Limited is an insurance brokerage firm

affiliated with Hub International Limited. Hub International Midwest Limited is an

Indiana corporation with its principal office located at 55 E. Jackson Boulevard, Floor

14A, Chicago, Illinois 60604-4466. Hub International Midwest Limited is licensed to

conduct insurance business in South Carolina by the South Carolina Department of

Insurance and is registered to do business in South Carolina.

5.     Hub International Limited and Hub International Midwest Limited are referred to



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collectively herein as “Hub.”

6.     Hub International Midwest Limited acquired Knauff in 2012.           According to

Articles of Merger filed with the North Carolina Secretary of State, the two entities

merged on December 31, 2012, and Hub International Midwest Limited became the

surviving entity. Thereafter, from 2012 to the present, Hub has provided insurance

brokerage and consulting services to the District. Upon information and belief, Hub has

also provided, and continues to provide, insurance brokerage and consulting services to a

number of other school districts in South Carolina, including, but not limited to, school

districts in Newberry County; Spartanburg County; Edgefield County; Oconee County;

Fairfield County; Greenville County; Cabarrus County; Clarendon County; Kershaw

County; Anderson County; Union County; and Lancaster County.

7.     Upon information and belief, Stanley Pokorney (“Pokorney”) is, and at all times

relevant herein has been, a citizen of North Carolina residing in Charlotte, North

Carolina. From 2012 to 2017, Pokorney was the Senior Vice President of Hub

International Southeast located at 1001 Morehead Square Drive, Suite 400, Charlotte,

North Carolina 28203. Before Hub acquired Knauff, Pokorney was a Senior Vice

President with Knauff and provided brokerage services to the District since at least 1993.

8.     Upon information and belief, Scott Pokorney (“Scott Pokorney”) is, and at all

times relevant herein has been, a citizen of North Carolina residing in Charlotte, North

Carolina. Scott Pokorney is, and at all times relevant herein has been, an employee of

Hub, serving as a Commercial Sales Executive at Hub’s offices located at 1001

Morehead Square Drive, Suite 400, Charlotte, North Carolina 28203. Scott Pokorney is

Stanley J. Pokorney’s son.




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9.      Defendant Hub is directly and vicariously liable for all of the torts alleged herein

against Knauff, Pokorney, and Scott Pokorney.

10.     Defendants Hub, Knauff, Pokorney, and Scott Pokorney are referred to herein

collectively as the “Insurance Defendants.”

11.     Defendant Brantley Thomas (“Thomas”) was the Comptroller, Executive Director

of Finance, and eventually the Chief Financial Officer of the BCSD from 1993 through

February 7, 2017. Thomas is a resident of Berkeley County, South Carolina. All of

Thomas’ wrongs, as alleged herein, were adverse to the interests of his principal, the

District.



                             JURISDICTION AND VENUE

12.     This Court has jurisdiction over the subject matter of this action pursuant to 18

U.S.C. §§ 1961, 1962, 1964, 1965 and 28 U.S.C. §§ 1331 and 1367. This Court has

personal jurisdiction over the Defendants pursuant to 18 U.S.C. § 1965(a), (b) and (d),

and its general equitable jurisdiction.

13.     Venue is proper in this District pursuant to 18 U.S.C. § 1965(a) because

Defendants transact business in this District. In addition, venue is proper pursuant to 28

U.S.C. § 1391(b) because defendant Thomas resides in this District, and a substantial part

of the events or omissions giving rise to Plaintiff’s claims occurred in this District. In

accordance with Local Civ. Rule 3:01(B) (DSC), counsel for Plaintiff endorses and

certifies that this case is assignable to the Charleston Division of the United States

District Court for the District of South Carolina.




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                              FACTUAL BACKGROUND

14.      The District first became aware that it had suffered injuries as a result of the

actions of the Defendants as alleged herein after February 6, 2017, when officials from

the Federal Bureau of Investigation (“FBI”) and Wells Fargo Bank met with officials of

the District and informed them that Thomas was under federal investigation for

misappropriation of public funds.

15.      The District terminated Thomas’ employment the next day. Since that time, upon

investigation, the District learned that over a period of many years, Thomas engaged in a

pervasive scheme of corruption, in which he embezzled and misappropriated public

funds.

16.      Among the myriad fraudulent schemes that the District unearthed after the

February 2017 meeting with the FBI were those hatched by Thomas in concert with Hub;

Hub’s predecessor, Knauff; and Pokorney, who served as an officer in both corporations.

17.      Thomas and the Insurance Defendants went to great lengths to conceal their

conduct, and were able to keep their activities hidden by communicating via personal

contact and the use of Thomas’ home mailing address and personal email address.

                                    Federal Information

18.      On December 7, 2017, the United States Attorney for the District of South

Carolina issued an Information in which it charged Thomas with ten counts of Wire

Fraud in violation of 18 U.S.C. §§ 1343 and 1346. (Information, attached hereto as

Exhibit A.)

19.      The Information charges that “beginning in or about March, 2010, and continuing

until in or about November 2016, the defendants, BRANTLEY DENMARK THOMAS




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III and others knowingly and willfully devised and intended to devise, and participated

in, a scheme to defraud the [District] and the citizens of Berkeley County by depriving

them of their intangible right to BRANTLEY DENMARK THOMAS III’s honest

services as the [District’s] Chief Financial Officer.” (Exhibit A, p. 5.) Thomas, as the

District’s CFO, was involved in obtaining insurance policies and selecting who would

broker those contracts. The Information charges that in his position as the District’s

CFO, Thomas “steered BCSD insurance policy purchases through a broker employee and

accepted cash kickbacks from that employee.” (Exhibit A, pp. 5-6.) By doing so, the

Information charges, Thomas deprived the citizens of Berkeley Count of Thomas’ honest

services. Id.

20.    The Information charges that it was the purpose of the scheme for Thomas to use

his official influence and position as the District’s CFO to enrich himself by steering

insurance contracts and business and accepting cash payments, or kickbacks, paid by an

insurance broker employee. (Exhibit A, p. 6.)

21.    It was a part of the scheme, according to the Information, to defraud that

kickbacks were paid to Thomas by personal check, which Thomas deposited into his

personal account. The checks would often contain information on a “memo” line and

would indicate the money was intended as a personal gift, when in fact the purpose was

as a kickback to Thomas for steering insurance policies and business to the insurance

company. It was a part of the scheme to defraud that Thomas received approximately 16

checks of $2,000.00 each, for a total of $32,000.00 as kickbacks. (Exhibit A, p. 6.)

22.    For the purpose of executing and attempting to execute the scheme, according to

the Information, Thomas transmitted and caused to be transmitted by means of wire and




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radio communication in interstate commerce, the below writings, signs, signals, pictures,

and sounds, among others, all made payable to Thomas:

       Count                            Check Date                     Amount
       11                               2/15/2013                      $2,000
       12                               5/20/2013                      $2,000
       13                               10/2/2013                      $2,000
       14                               3/12/2014                      $2,000
       15                               12/4/2014                      $2,000
       16                               3/24/2015                      $2,000
       17                               7/25/2015                      $2,000
       18                               10/20/2015                     $2,000
       19                               5/23/2016                      $2,000
       20                               11/8/2016                      $2,000


23.    Upon information and belief, the unnamed insurance broker described in the

Information is Hub, and the unnamed insurance broker employee is Defendant Pokorney.

24.    Thomas has entered a plea of guilty to all of the foregoing federal charges against

him.

25.    The Federal Information was limited in time to the period between 2010 and

2016. However, since at least 2005, Thomas and the Insurance Defendants engaged in

multiple illegal schemes pursuant to which the Insurance Defendants paid kickbacks to

Thomas in exchange for his assistance in the Insurance Defendants’ efforts to procure or

maintain the District’s insurance business.

                                     State Indictment

26.    On November 15, 2017, a South Carolina grand jury handed down a four-count

Indictment charging Thomas with embezzlement in violation of S.C. Code Ann. § 16-13-

210.1 (Information, attached as Exhibit B.)


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 A South Carolina grand jury handed down a Superseding Indictment for Embezzlement
(Ten Counts) in violation of S.C. Code Ann. § 16-13-210, and Forgery (One Count) in
violation of S.C. Code Ann. § 16-13-10, against Thomas on October 17, 2017.

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27.    In Count III of the Indictment, the Grand Jury charged that on or about November

29, 2007, while Thomas was responsible for the safekeeping, transfer and disbursement

of public funds,” he “did embezzle and convert to his own use ten thousand dollars or

more ($10,000) of those public funds with the intention to defraud” the District.

28.    The Grand Jury charged that, on that date, Thomas “did convert to his personal

use approximately $22,700.00 of public school funds, by deliberately causing the

Berkeley County School District to overpay a vendor, and then having the vendor send a

refund of the overpayment to his home address, upon which the funds were converted to

his personal use.” (Exhibit B, p. 3.)

29.    Thomas’ conduct, the Grand Jury charged, was “in violation of section 16-13-210

of the South Carolina Code of Laws, as amended,” involved “public corruption arising

out of or in connection with a crime involving public corruption,” and such conduct was

not “authorized by law.” (Exhibit B, pp. 3-4.)

30.    Upon information and belief, the vendor to which the Grand Jury refers in Count

III of its Indictment is Defendant Knauff, which was acquired by Defendant Hub in 2012.

Thus, as the Grand Jury charged, on November 15, 2017, Thomas caused the District to

overpay Knauff/Hub in the amount of $22,500.00, and Knauff/Hub knowingly refunded

the overpayment directly to Thomas, who converted it to his personal use in violation of

section 16-13-210 of the South Carolina Code of Laws.

31.    Upon information and belief, Pokorney was the Knauff/Hub employee who

refunded the overpayment directly to Thomas so that he could convert it to his personal

use, and this refund was a kickback to Thomas in exchange for Thomas’ assistance in

maintaining the insurance relationship between Knauff/Hub and/or steering new




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insurance business to Knauff/Hub.

32.    Thomas has agreed to enter a plea of guilty to this and all other charges against

him.

Excessive Premiums and Fees for Unnecessary and/or Duplicative Insurance Policies

33.    At all times relevant herein, Pokorney, in his position with Knauff and Hub as the

District’s insurance broker or consultant, recommended various insurance policies to the

District which Defendants knew were unnecessary and prohibitively expensive.

34.    In its Insurance Proposals, Hub represented that it was “committed to providing

[the District] with the best available insurance brokerage service.” (See Hub Proposal of

Insurance, 2014-2015, attached as Exhibit C.)

35.    Hub represented that, as the District’s insurance consultant or broker, it would

“act as [the District’s] trusted partner,” “look for creative, cost-effective methods for

treating risk,” “keep [the District] informed of changes occurring in the insurance

marketplace,” “act as [the District’s] advisor and advocate,” and “represent [the District]

in the marketplace in the most informed, effective, and professional manner possible.”

Id.

36.    In those proposals, Hub also stated that, “insurance should not be purchased for

small exposures since the cost is prohibitive and may use premium dollars you need to

cover your major exposures,” thereby representing that it would only recommend

insurance policies that were in the best interests of the District. (Exhibit C.)

37.    At all times relevant herein, the District has maintained an occurrence-based

general tort liability policy with the South Carolina Insurance Reserve Fund (“IRF”), as

well as property and casualty insurance through the IRF, which have always been more




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than sufficient to cover all of the District’s liability and property insurance needs.

38.     The IRF is a Division of the South Carolina State Fiscal Accountability Authority,

and reports to the five-member board through the Office of the Executive Director. The

State Fiscal Accountability Authority is authorized and required to provide insurance to

governmental entities pursuant to S.C. Code §§ 1-11-140; 10-7-10 through 10-7-40; 10-

7-120; 10-17-130; 15-78-10 through 15-78-150; 59-67-710; 59-67-790; 1-11-147; 11-9-

75; and 38-13-190.

39.     Section 10-7-40 of the Code of South Carolina specifically requires that, “[a]ll

insurance of public school buildings and on the contents thereof, whether such buildings

are held and operated under the general school laws or laws applicable to special school

districts only, shall be carried by the State Fiscal Accountability Authority.” S.C. Code §

10-7-40.

40.     The IRF functions as a governmental insurance operation with the mission to

provide insurance specifically designed to meet the needs of governmental entities at the

lowest possible cost. The IRF operates like an insurance company, by issuing policies,

collecting premiums (based in consultation with actuaries), and by paying claims from

the accumulated premiums in accordance with the terms and conditions of the insurance

policies it has issued.

41.     All premiums received by the IRF are deposited with the Office of the State

Treasurer where the funds are maintained as the IRF Trust Account. By statutory

requirement, these funds are to be used to pay claims and operating expenses of the IRF.

The Office of the State Treasurer is responsible for investing these funds.




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42.        The IRF uses no agents, brokers, or advertising, and does not actively solicit

accounts. The lack of a profit motive and the lack of acquisition expenses such as agents’

commissions, along with the use of the investment income in rate determination allows

the IRF to maintain the lowest possible rate structure.

43.        The IRF offers, and the District has, throughout the years, purchased the

following lines of insurance through the IRF:

           Liability        Automobile Liability
           Insurance:       School Bus Liability
                            General Tort Liability
                            Medical Professional Liability
           Property         “All Risk” Coverage on Buildings
           Insurance:       and Contents
                            Builders’ Risk
                            Data Processing Equipment and
                            Media
                            Inland Marine

44.        As the District’s insurance consultants, the Insurance Defendants recommended,

and the District, through Thomas, purchased myriad commercial insurance policies,

including the following:

      a. Builder’s Risk Policies;
      b. Student Accident Policies;
      c. Crime – Excess Crime Policies;
      d. Cyber Policies;
      e. Excess General Liability and Umbrella Policies;
      f. Directors and Officers Liability Policies for the nonprofit organization Securing
         Assets for Education (“SAFE”), which operates to benefit the BCSD;
      g. Inland Marine Policies, including terrorism coverage; and
      h. Errors and Omissions coverage for School Board members.


(Exhibit C.)

45.        At all times relevant herein, Defendants were aware that the District had sufficient

insurance coverage for liability and property through the IRF.



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46.    Despite their duty to the District to provide sound insurance advice and their

representation that they were acting as the District’s advisor and advocate, the Insurance

Defendants advised the District to purchase various forms of insurance that they knew

were unnecessary, as the risks in question were either negligible or non-existent or

already covered by insurance procured by the District through the IRF or insurance was

available to the District through the IRF for much less.

47.    The Insurance Defendants also conducted costly “reviews” of the District’s

insurance policies not brokered by Defendants, including a review of the District’s

workers’ compensation coverage, for which they charged hefty consultant’s fees.

48.    During the period from 2005 to 2012, the District paid premiums for the insurance

policies purchased through Knauff in the amount of $3,374,267.00. Knauff charged

consulting and broker’s fees to the District during that period in the amount of

$1,586,273.65. Knauff thus charged fees in the amount of 47 percent of the premiums

paid during that period. (Knauff Vendor Report, attached as Exhibit D.)

49.    For the period from 2012 through 2017, after Hub’s acquisition of Knauff, the

District paid premiums on policies purchased through Hub in the amount of

$3,425,698.50. Hub charged the District $1,408,038.00 in consulting and broker’s fees

during that period. Hub thus enjoyed fees during that period in the amount of 41 percent

of the premiums paid. (Hub Vendor Report, attached as Exhibit E.)

50.    Thus, the total premiums paid to the Insurance Defendants from 2005 through

2017 amounted to $6,799,956.50, and the broker’s fees charged by the Insurance

Defendants during that period totaled $2,994,311.65. Thus, for the period from 2005

through 2017, the Insurance Defendants were paid broker’s fees in the amount of 44




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percent of the premiums paid. (Exhibit E.)

51.    As alleged herein, all of the foregoing premiums and fees were the result of

Defendants’ fraud, conspiracy with Thomas, and breaches of their fiduciary duties.

Defendants’ tortious activities thus cost the District $9,794,277.15 in excessive premiums

and consultant’s fees.

52.    All of these premiums and fees charged on insurance policies were unnecessary or

could have been purchased from the IRF at a lower premium and without incurring a

broker’s or consultant’s fee.

53.    Despite their duties to the District to act in its best interests, and the excessive fees

paid to the Insurance Defendants for their expertise as insurance consultants, the

Insurance Defendants made no effort to lower the District’s insurance costs and, instead,

recommended costly duplicative policies so that they could charge outrageous fees

associated with such policies.

54.    The loss runs over the period of time during which the Insurance Defendants

served as the District’s insurance consultant would have demonstrated to any experienced

insurance consultant, acting in good faith and in the District’s best interests, that the

District was expending millions of dollars of its precious resources needlessly to insure

itself against non-existent, or nominal, risk. Still, the Insurance Defendants continued to

advise the District to renew the policies year after year so that they could charge their

exorbitant fees.

55.    By contrast, the loss runs for the general liability and property and casualty

policies the District has purchased from the IRF demonstrate that the District has actively

relied upon those policies. From 2011 through 2017, the District has paid the IRF




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premiums of $16,739,321.53, and the claims incurred total $4,569,511.67 during that

period. (IRF Loss Runs, attached as Exhibit F.)

56.     In addition, with Thomas’ assistance, the Insurance Defendants charged the

District excessive fees for reviewing the District’s workers’ compensation and property

policies.

57.     Pokorney regularly represented to his school district clients that he was saving

them money on premiums (Exhibit G, attached), when in fact he was selling them

unnecessary and expensive insurance policies, for which Hub charged excessive

consulting fees.

58.     As Pokorney stated in his January 14, 2014 email to his school district client,

“THE MOST DIFFICULT PART OF OUR PROCESS IS TO – FIND A

CFO/DISTRICT THAT IS WILLING TO SIDE-STEP POLITICS FOR THIS KIND OF

IMPROVEMENT!”           (Exhibit G.)     In other words, selling public school districts

superfluous insurance policies is not easy. In the case of the BCSD, it required the

payment of kickbacks to the District’s CFO.

59.     Despite their duty to act in the best interests of the District, in engaging in their

coverage “reviews,” Defendants failed to properly audit the District’s records for

insurance needs, including property insurance, and instead served as the District’s

consultant and broker only for purposes of collecting premiums and fees, and to kick

back payments to Thomas for awarding business to them.


                             Bribes and Kickbacks to Thomas

60.     Defendants were able to carry out and conceal their schemes as aforesaid by

establishing and maintaining a close relationship with Thomas, and by communicating



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with him and sending fee invoices through mail sent to his home address and emails sent

to his personal email account, and by paying kickbacks to him, without the knowledge of

the District. (See Letter from Hub dated December 20, 2016, attached as Exhibit H.)

61.    The Insurance Defendants knew that Thomas was an active participant in the

scheme to defraud the District, and was willing to assist Defendants in procuring and

maintaining the District’s insurance business and in conducting expensive and

unnecessary insurance reviews in exchange for personal bribes and kickbacks at the

expense of the District.

62.    With Thomas, the Insurance Defendants hatched a scheme by which the Insurance

Defendants would advise the District to purchase new insurance policies, renew existing

policies, and engage in insurance reviews;       the Insurance Defendants would charge

exorbitant consultant’s or broker’s fees related to the insurance policies recommended or

reviews purportedly conducted and send the invoices directly to Thomas; Thomas would

assist the Insurance Defendants and ensure that such policies were purchased or renewed

and that the Insurance Defendants were paid for insurance reviews and sham consulting

fees; and Thomas would receive kickbacks in exchange for his assistance in the form of

cash, expensive trips, hotel rooms, dinners, and spa services.

63.    In an effort to continue to enjoy both the commissions they received from insurers

and the consultant’s and/or broker’s fees they received from the District, the Insurance

Defendants continued to bribe Thomas and provide kickbacks to him from the fees and

commissions they received.

64.    The Insurance Defendants’ conduct was in direct violation of the State Ethics

Code, which provides, at Section 8-13-705, as follows:




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       (A) A person may not, directly or indirectly, give, offer, or promise anything
       of value to a public official, public member, or public employee with the intent
       to:
              (1) influence the discharge of a public official’s, public member’s, or
              public employee’s official responsibilities;
              (2) influence a public official, public member, or public employee to
              commit, aid in committing, collude in, or allow fraud on a
              governmental entity; or
              (3) induce a public official, public member, or public employee to
              perform or fail to perform an act in violation of the public official’s,
              public member’s, or public employee’s official responsibilities.


65.    Thomas accepted bribes and conspired with Pokorney to bind the District to

insurance policies that were unnecessary and prohibitively expensive, allowing the

Insurance Defendants to collect exorbitant broker’s fees on those policies from the

District and commissions from insurers.

66.    Through their schemes, Pokorney and Thomas conspired to fleece the District of

tens of millions of dollars in consulting and broker’s fees and insurance premiums.

67.    Also as a part of their conspiracy, Pokorney used Thomas as a reference to

convince other school districts to procure insurance through Knauff and Hub, for which

Thomas was rewarded with kickbacks.         (See emails dated June 12, 2013 between

Pokorney and Thomas (entitled “Got—Milk”), attached as Exhibit I.)

68.    At all times relevant, Knauff and Hub ratified and approved of the actions of their

agent, Pokorney, as described herein.


The Insurance Defendants’ Receipt of Commissions from Insurers and Broker’s Fees
                     from the District on the Same Policies

69.    In its Proposal of Insurance, Hub specifically stated that Hub would not receive

any fees from the District on policies for which Hub received a commission from the

insurance company issuing those policies without disclosing that information to the


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District before charging the fees. (Exhibit C.)

70.    In previous proposals, the Insurance Defendants also represented that they were

not receiving commissions from insurers on policies on which they charged the District

brokers’ fees.

71.    Under South Carolina insurance law, broker’s fees are required to be disclosed

and must be reasonable.

72.    The Insurance Defendants were “insurance brokers” under South Carolina law,

which is defined as “a property and casualty insurance producer licensed by the director

or his designee who…….”sells, solicits, or negotiates insurance on behalf of an insured”

or who “takes or transmits other than for himself an application for insurance or a policy

of insurance to or from an insured…” S.C. Code Ann. § 38-45-10.

73.    Pursuant to S.C. Code Ann. § 38-45-160, “No policy fee may be charged by a

broker unless it is a reasonable fee, it is made part of the contract, and the broker’s

premium tax rate is paid upon the policy fee. If for any reason the director or his designee

disapproves the placement or the insurer ultimately refuses to write the risk, the broker

shall immediately refund the full policy fee to the policyholder.” Id.

74.    Thus, a broker’s receipt of a fee from the insured and a commission from an

insurance company is not permitted by law without full disclosure to the client, and the

fee charged, if disclosed, must be reasonable.

75.    Despite this, at the same time the Insurance Defendants were receiving

commissions from insurers for having sold policies to the District, they were receiving

exorbitant “consultant’s fees” and “broker’s fees” from the District, without disclosing

that information to the District beforehand, creating a violation of statute as well as a




                                            20
conflict of interest about which the District should have been informed.

                                 Builder’s Risk Insurance

76.    Following voter approval in November 2012, the District was permitted to issue

$198 million in bonds for purposes of building new schools in the District.

77.    On February 13, 2013, Pokorney approached Thomas to sell the District Builder’s

Risk insurance for the projects to be constructed.     (See email chain between Thomas,

Pokorney, and later between Thomas and Connie Meyers and others, beginning on

February 13, 2013 and extending through May 1, 2013, attached as Exhibit J.)

78.    Two days after Pokorney’s email, on February 15, 2013, Pokorney wrote a

personal check to Thomas in the amount of $2,000.00, which Thomas admits was a

kickback. (See Information, Exhibit A, p. 6.)

79.    The District had purchased Builder’s Risk insurance in the past from the IRF;

however, that insurance did not cover the contractor; instead, it only covered the District.

80.    Builder’s Risk insurance that provides coverage to contractors is ordinarily

purchased by contractors, and this had been the District’s practice in the past.

81.    Emails during this period reveal that Thomas was insistent upon the District

covering the contractors’ risk for the referendum projects, despite disapproval from the

District’s Superintendent and questions raised by the District’s Capital Projects Manager,

and claimed that providing the insurance to the contractors would be cheaper than

allowing them to purchase it themselves. (Exhibit J.) Upon informing Pokorney of the

Superintendent’s resistance to the District providing builder’s risk insurance to the

contractors on the referendum projects, Pokorney expressed his concern that Thomas

might be exposing the insurance schemes they had hatched. In an email dated February




                                             21
21, 2013 to Thomas’ home email address, Pokorney stated:


      If I don’t get something (indication) very, very (MIND BOGGLING) strong – and
      since your “HIGHER UPS” are pointed that direction – and for YOUR BEST
      INTEREST AND PROTECTION ---Okay to let the contractor – do.

Id. (emphasis in original).)

82.      Despite this, Pokorney and Thomas determined that the District would purchase

the insurance, after which Thomas received another check, dated May 20, 2013, from

Pokorney in the amount of $2,000.00, which he admits was a kickback.               (See

Information, Exhibit A, p. 6.)

83.      The purchase of Builder’s Risk insurance through Pokorney was far more

expensive than it would have been if the contractors had purchased it for themselves.

From 2013 through 2016, the District paid the following premiums for Builder’s Risk

insurance:


                       2013-2014            $249,269.00

                       2014-2015             444,879.00

                       2015-2016             112,759.00

                       2016-2017                75,251.00

(Exhibit E.)

84.      In addition, Hub charged the following consultant’s fees for the builder’s risk

policies for the period from 2013-2017:


                       2013-2014            $50,000.00

                       2014-2015            $50,000.00

                       2015-2016            $50,000.00


                                           22
                       2016-2017              $85,000

(Exhibit E.)

85.    The Builder’s Risk insurance recommended by the Insurance Defendants for the

referendum projects thus cost the District a total of $1,109,529.00.

86.    In Hub’s Client Management Service Fee Agreement for Builder’s Risk, which

states it is for “consulting services,” Hub agreed to provide a “dedicated service team to

coordinate customized service plan and respond to [the BCSD’s] insurance needs” and to

provide an “annual summary/review of loss experience,” and an “annual review of

renewal coverage.” (Client Management Service Fee Agreement, 2016-2017, attached as

Exhibit K.)

87.    An experienced insurance consultant acting in the best interests of its client would

know that the premiums and fees being charged for Builder’s Risk insurance to the

BCSD from 2013 through 2017 were far more expensive than such coverage would have

been if the contractors had procured the coverage themselves, and the loss runs

demonstrated this over the years.

88.    Still, the Insurance Defendants advised the District to purchase the coverage, and

continued to advise the District to renew it from 2013 through 2017.

89.    To date, the District must continue to purchase costly Builders’ Risk insurance for

projects under construction due to the scheme the Insurance Defendants set up because

the cost cannot be reverted to be borne by the contractors at this post-bid stage of the

projects.

90.    Defendants knew that builder’s risk coverage for the District could be purchased

from the IRF, and that coverage for the contractors was ordinarily purchased by the




                                            23
contractors, without the exorbitant consulting fees charged.

91.    Hub rewarded Thomas for his assistance in steering the District toward Builder’s

Risk insurance procured through Hub by providing Thomas with illegal kickbacks.

92.    One striking example of the excessive nature of the premiums charged, and the

complete failure of Defendants to act in the District’s best interests despite the enormous

consulting fees charged, occurred in 2015 on the Philip Simmons High School project,

which was one of the schools built pursuant to the referendum.

93.    In 2015, the District’s Interim Director of Facilities, Gene Sides, stated that he

believed that the premium for builder’s risk insurance on the Philip Simmons project –

which amounted to $488,000 – was too high. Thereafter, by changing the elevation of

the project, the premium was reduced to $224,007 - a savings of $264,166. (See email

from Hub dated November 3, 2015, attached as Exhibit L.)

94.    Oddly, Hub touted this premium reduction as an example of how it “always

strive[s] to do [its] best for” the District. (Exhibit L.) What it actually evinced was the

opposite - that despite charging hundreds of thousands of dollars in consultation fees for

builder’s risk insurance, Hub was making no effort to minimize the District’s insurance

premiums, and it took a comment by a District employee to Hub to ultimately reduce the

premium by more than half. The consultant thus proved not to be the expert; rather the

client/insured provided the expert guidance, which wholly evidences the folly of Hub’s

consultant fees


                              Student Accident Insurance


95.    Until 2015, the District’s broker for Student Accident insurance was The Young




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Group in Raleigh, North Carolina. Originally, the coverage was purchased from Sentry

Insurance Company, and then moved to AIG/Bollinger in 2012.

96.    Such coverage, provided by a school district, is highly unusual and prohibitively

expensive, and an insurance consultant receiving hundreds of thousands of dollars to act

in the best interests of a school district such as Berkeley would have advised against it.

97.    In March of 2015, Hub and Thomas hatched a scheme for Hub to become the

District’s exclusive broker for Student Accident insurance coverage, in exchange for

which Thomas would receive kickbacks from Hub.

98.    On March 16, 2015, Defendant Scott Pokorney, an agent with Hub and Stanley

Pokorney’s son, sent an email to Thomas requesting information relating to the Student

Accident coverage. (Exhibit M.)

99.    On March 24, 2015, Stanley Pokorney wrote a check to Thomas in the amount of

$2,000.00 in exchange for Thomas’ assistance in steering the Student Accident coverage

to Hub, which Thomas has admitted was a kickback. (See Exhibit A.)

100.   On April 15, 2015, Thomas and Scott Pokorney had dinner together during a

meeting of the SCASBO in Myrtle Beach, South Carolina, during which they devised the

plan to oust Young as the BCSD’s broker for Student Accident coverage. Scott Pokorney

had invited Thomas to be Hub’s guest at the dinner, for which Hub footed the bill.

(Exhibit N.)

101.   Thereafter, on July 16, 2015, Thomas wrote to The Young Group (in a letter

drafted by Scott Pokorney) stating that Scott Pokorney of Hub would be the exclusive

broker of record for the Student Accident Insurance policy renewing on August 1, 2015.

(Exhibit O.)




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102.   Nine days later, on July 25, 2015, Stanley Pokorney wrote Thomas a check in the

amount of $2,000.00 in exchange for Thomas’ having transferred the District’s Student

Accident coverage from The Young Group to Hub, which Thomas has admitted was a

kickback. (See Exhibit A, p. 6.)

103.   For the 2014-2015 school year, the Bollinger Student Accident policy procured

through The Young Group cost the District a premium of $312,572.00. There was no

separate broker’s fee paid to The Young Group.

104.   After Hub became the District’s “exclusive broker of record” for the 2015-2016

school year, the gross premium for Student Accident insurance rose to $366,902.00.

Upon information and belief, Thomas then caused Hub to be paid $45,000.00 for

management of this coverage alone. (Exhibit E.)

105.   The premium for Student Accident coverage remained at $366,902.00 for the year

2015-2016, and the Insurance Defendants again charged the District with a management

fee of $45,000.00. The premium rose to $388,087.00 for the year 2016-2017, and the

Insurance Defendants again charged the District $45,000.00 in management fees.

(Exhibit E.)

106.   The loss runs for the Student Accident policy would have demonstrated to any

experienced insurance consultant, acting in good faith and in the District’s best interests,

that the Student Accident policies were unnecessary.

107.   An experienced insurance consultant acting in the best interests of a school

district such as the BCSD would have advised against the purchase and maintenance of a

Student Accident policy. The sole purpose behind the Insurance Defendants’ advice to

maintain the coverage was to charge exorbitant management fees, which were secured




                                            26
through illegal kickbacks paid to Thomas.


                    Directors and Officers Liability Policies for SAFE

108.   From 2010 to 2017, the Insurance Defendants were the brokers for the Directors

and Officers insurance coverage (“D&O”) for Securing Assets for Education (“SAFE”) a

charitable organization that supports the District.

109.   The premium for this coverage was $65,000 per year for 2010-2011 through

2014-2015, and decreased to $32,131.00 for years 2015-2016 through 2016-2017.

(Exhibits D and E.)

110.   For each year from 2010-2011 through 2016-2017, the Insurance Defendants have

charged the District a consultant’s fee for this coverage in the amount of $118,625.00, for

a total of $830,375.00 in fees alone for that period. Id.

111.   During the life of the D&O/SAFE policy, there has not been even one claim

asserted against the Directors and Officers of SAFE, or any claim against the D&O/SAFE

insurance policies, and the Insurance Defendants have provided absolutely no services

associated with these policies to justify their predatory fees.

112.   Notwithstanding their duty as insurance consultants to act in the District’s best

interests, and despite their knowledge that the insurance was unnecessary, the Insurance

Defendants have never advised against the retention of the D&O/SAFE policies, and

instead have continued to charge and collect exorbitant fees on the policy.

113.   Tellingly, in the wake of the FBI indictment, Scott Pokorney is now

recommending to the District that it cancel this coverage because it is unnecessary.

Moreover, he claims he has repeatedly advised the District of the same but, upon request,

refused to produce the prior correspondence to the District regarding this revisionist



                                              27
recommendation.

114.   Because Defendants’ fees for the D&O/SAFE policies were so clearly outrageous,

Thomas hid them among the other fees paid to the Insurance Defendants, describing them

as payments for “Builder’s Risk” so that they would be paid out of the referendum fund

over which Thomas had complete control.

115.   The consultant’s fees charged for the D&O/SAFE policies were predatory in

nature, and it was a breach of fiduciary duty for Defendants, who were duty-bound to the

District to act in good faith and in the best interests of the District, to charge such an

exorbitant fee for the policies, particularly policies that required no servicing.

116.   The predatory and excessive consultant’s fees for the D&O/SAFE policies were

the result of a conspiracy between Thomas and Pokorney to defraud the District and

SAFE, for which Hub paid Thomas kickbacks in the form of cash, expensive trips,

dinners, and spa services.

           Excess Insurance, Crime Insurance, and Cyber Insurance Policies

117.   Upon the advice of the Insurance Defendants, the District, through Thomas,

procured Excess Insurance coverage, despite sufficient coverage procured and available

to it through the IRF, and despite the limitations placed on the District’s liability

exposure by the State Tort Claims Act.

118.   For the year 2010-2011, the District purchased excess general liability coverage

from Great American Insurance, paying a premium of $20,000.00, with a separate

broker’s fee of $25,000.00.        That same year, upon the advice of the Insurance

Defendants, the District purchased excess (umbrella) coverage from States Insurance for

$69,535.00, with a separate broker’s fee of $109,045.20. Also in 2010-2011, upon the




                                              28
advice of the Insurance Defendants, purchased a Crime Insurance policy through Liberty

Mutual Insurance Company, with premium of $3,951.00, with a service fee of $790.20.

Thomas renewed the coverage at the same rates and paying the same fee for 2011-2012.

(Exhibits D and E.)

119.   In 2012-2013, upon the advice of the Insurance Defendants, the District renewed

the Great American and States excess policies, with the premium for the Great American

policy being $21,409.00, with a service fee to Defendants of $25,000.00. The States

Insurance premium rose to $75,611.00, with Defendants charging a service fee of

$113,891.80. The Crime Insurance policy’s premium and Defendants’ fees remained the

same. Id.

120.     In April of 2013, the Insurance Defendants advised the District to purchase

Cyber Insurance through the National Fire Insurance Company of Pittsburgh,

Pennsylvania, another unnecessary policy insuring risks for which the District was

already sufficiently covered, for the period from 2013-2014. (Exhibit P.)

121.   The premium for this excessive coverage was $15,716.00, and the Insurance

Defendants charged a consultant’s fee of $3,143.20. (Exhibit E.)

122.   Before recommending the Cyber Policy, the Insurance Defendants, despite their

duty to act in the best interests of the District as the District’s insurance consultants, did

nothing to make certain that the District received the best quotes for this insurance

coverage, nor did they make any recommendations to increase security to reduce the

premiums for this coverage.

123.   On June 17, 2014, despite no claims having been incurred that were covered

under the Cyber policy, the Insurance Defendants recommended, and Thomas readily




                                             29
agreed to, an increase in the Cyber limits from $1 million to $2 million. (Email chain

between Thomas and Jan Pokorney dated June 16-17, 2014, attached as Exhibit Q.)

124.    The premium for the Cyber policy increased to $26,815.00 in 2014-2015, then to

$27,586.00 in 2015-2016.      In 2016-2017, the premium charged was $24,233.00.

(Exhibit E.)

125.    Despite being paid commissions by the insurance companies for these policies,

the Insurance Defendants charged the District with broker’s fees of $3,143.20 for 2013-

2014; $5,363.00 for 2014-2015; $5,517.20 for 2015-2016; and $4,846.60 for 2016-2017.

126.    The premiums for the States Excess Policy, Liberty Mutual Crime Policy, and

National Fire Insurance Cyber Policy, all of which were unnecessary, continued to rise

over the period from 2013-2014 through 2016-2017, and totaled $675,090.00 for the

period from 2010-2011 through 2016-2017. (Exhibit E.)

127.    In addition, every year, from 2010-2011 through 2016-2017, the Insurance

Defendants charged the District $114,682.00 in fees alone for the States Excess Policy,

Liberty Mutual Crime Policy, and National Fire Insurance Cyber Policy, for a total of

$802,774.00 in excessive fees for unnecessary insurance policies. (Exhibits D and E.)

128.    Upon information and belief, there have been no losses paid on the foregoing

excess policies or the Cyber Policy. The only claim that has been made on the Crime

Policy, ironically, was under the policy’s employee dishonesty coverage for Thomas’

illegal activities.

129.    These costly premiums for excessive and unnecessary coverage, and the

exorbitant broker’s fees charged, were the result of the secret conspiracy between

Thomas and Pokorney to defraud the District, which allowed the Insurance Defendants to




                                          30
charge the fees and provide Thomas with personal kickbacks.

130.   An experienced insurance consultant acting in the best interests of a district such

as Berkeley would have recommended against purchasing this unnecessary and/or

duplicative insurance coverage, or recommended discontinuing it, in light of the

District’s limited exposure.

                                Inland Marine Insurance

131.   Also upon the advice of the Insurance Defendants, the District has for years

purchased and renewed Inland Marine Insurance covering movable equipment such as

lawn mowers and golf carts.

132.   Such insurance was required to be purchased from the IRF pursuant to Section

10-7-40 of the South Carolina Code, which provides that, “[a]ll insurance of public

school buildings and on the contents thereof, whether such buildings are held and

operated under the general school laws or laws applicable to special school districts only,

shall be carried by the State Fiscal Accountability Authority.” S.C. Code § 10-7-40.

133.   The District had available to it a purported $53,000,000 in a reserve fund, which

was more than sufficient to pay for lost or damaged lawn mowers or golf carts, and any

experienced insurance consultant acting in the best interests of a district such as the

BCSD would advise against wasting money to procure such insurance.

134.   Between the years 2013-2014 and 2016-2017, upon the advice of Pokorney and

Hub, the District spent $114,902.00 in premiums on Inland Marine insurance. (Exhibit

E.)

135.   For the period between 2005-2006 and 2012-2013, upon the advice of the

Insurance Defendants, the District spent $750,433.58 on Inland Marine coverage.




                                            31
(Exhibits D and E.)

136.   Loss runs from 2006 through 2013 provided by the insurer show that there were a

total of three claims under the Inland Marine policy during that seven-year period for a

total of $8,494.27 in claims paid. (See Great American Inland Marine Loss Runs,

attached hereto as Exhibit R.)

137.   Loss runs from 2014 through 2017 provided by the insurer show that there were a

total of three (3) claims during that period for a total of $13,618.00 claims paid. (See

Allianz Policy History Report, attached hereto as Exhibit S.)

138.   Through the Inland Marine policy, the District paid exorbitant rates for coverage

of items such as golf carts and lawn mowers, for which the replacement cost would have

been far less expensive than the premiums paid.

139.   Moreover, the District had agreed with the IRF to purchase all policies offered by

the IRF or no policies at all. Thus, the District should never have purchased Inland

Marine insurance from a commercial provider. If an Inland Marine policy was needed,

the District should have purchased it from the IRF pursuant to the agreement between the

IRF and the District, and it was required to be purchased from the IRF pursuant to

Section 10-7-40 of the South Carolina Code.

140.   Defendants received commissions from the insurer for their placement of Inland

Marine coverage, which they knew to be unnecessary and cost prohibitive.

141.   In addition, in August 2016, Defendants advised the District to include terrorism

coverage within their Inland Marine coverage, despite their knowledge that the coverage

was unnecessary, and in any event, fully covered under the District’s policy with the IRF.

In order to continue to receive kickbacks from the Insurance Defendants, Thomas readily




                                           32
agreed to procure such coverage, and terrorism coverage was added to the District’s

Inland Marine policy. (Exhibit T.)

142.   Any experienced insurance consultant, acting in the best interests of a school

district such as the BCSD, would have advised against the purchase of Inland Marine

insurance and terrorism coverage. Because the Insurance Defendants sought to continue

their receipt of commissions from the insurer, they made no effort to engage in an audit

or otherwise determine whether the coverage was necessary.

143.   The procurement and continuation of the unnecessary Inland Marine and

terrorism insurance was made possible due to the willingness of Thomas to purchase any

policy recommended by Defendants in exchange for kickbacks from the Insurance

Defendants.

                      School Board Errors and Omissions Policy

144.   Upon the Insurance Defendants’ advice, on July 14, 2005, the District purchased a

School Board Errors and Omissions Liability policy (the “E&O policy”) with a six-year

extended reporting term and a premium of $69,370.00. (See Exhibit D.)

145.   Also upon the Insurance Defendants’ advice, the District renewed the policy in

2011 for another six-year term, for a premium of $75,000.00. (See Exhibit D.)

146.   In 2010, the Insurance Defendants began charging the District with a broker’s fee

for the E&O policy at $70,000.00 per year. (Exhibit D.)

147.   Thus, from 2010 through 2016, the District paid broker’s fees for the School

Board E&O policy in the amount of $350,000.00 on policies with premiums totaling

$144,370.00.

148.   Upon information and belief, there have been no claims paid under any of the




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foregoing E&O policies since their inception.

149.   Defendants knew that an E&O policy was not necessary, yet they made no effort

to advise against it and, instead, charged the District outrageous consulting fees from

2010 to 2016.

150.   With Thomas’ assistance, the Insurance Defendants were able to avoid scrutiny of

their excessive broker’s fees on the E&O policy, for which the Insurance Defendants

rewarded Thomas handsomely with kickbacks.

                            Workers’ Compensation Review

151.   For years, the District has purchased its workers’ compensation coverage from the

South Carolina School Boards Insurance Trust (“SCSBIT”).

152.   In March of 2016, the Insurance Defendants sought to procure the District’s

workers’ compensation business and, in furtherance of that effort, Pokorney conspired

with Thomas to have the District engage in an unnecessary and costly analysis of the

District’s workers’ compensation coverage.

153.   On March 14, 2016, Thomas wrote to Danny Deal, the Assistant Direct or the

Workers’ Compensation Section of the SCBIT, and stated that the District’s “new

Superintendent has asked us to have an independent review of all of our major insurance

policies including P/C, Auto, student accident and Workers Comp and others.” (Email to

Deal, attached as Exhibit U.

154.   Thomas then sent an email to Stanley Pokorney dated March 14, 2016, wherein

he informed Pokorney as follows:

       It was good to see Scott and Renee last week. I think the girls went out
       Thursday. I gave Danny a heads up Friday that the email was coming.
       Maybe this year come up with a recommendation that we pursue for 17-
       18. I also want to do P/C I do not like IRF.



                                             34
(Emails between Thomas and Pokorney dated March 14, 2016, attached as Exhibit V.)

Thomas and Pokorney were therefore conspiring for Hub to take over both the workers’

compensation policies and the property and casualty insurance purchased from the IRF,

so that Hub could charge excessive fees on the coverage and Thomas could receive even

more kickbacks from Hub.

155.   The “review” conducted by Hub was a ruse through which Pokorney hoped to

gain the District’s business in exchange for bribes and kickbacks to Thomas. Upon its

completion, the Insurance Defendants presented the District with an invoice in the

amount of $47,000.00 for the “analysis.” (See Exhibit E.)

156.   Later, on August 23, 2016, again in an effort to gain the District’s workers’

compensation business, Pokorney hosted Thomas and the Risk Manager for the District

in Charlotte, where the Insurance Defendants bribed Thomas and Talbert by paying for

all of Thomas and Talbert’s accommodations, including elaborate hotel rooms, dinners,

drinks, and spa services, all in violation of the State Ethics Act. (See email chains

leading up to August 23, 2016, attached as Exhibit W.)

157.   The fully-accommodated trip to Charlotte, which was never reported, in violation

of the South Carolina Ethics Act, was an illegal bribe to Thomas and the Risk Manager,

and was the result of a conspiracy between Thomas and Pokorney in the Insurance

Defendants’ efforts to gain the District’s workers’ compensation business and ultimately

fleece the District of additional excessive consultant’s fees, with additional kickbacks to

Thomas.




                                            35
             Knauff and Hub’s Knowledge of the Actions of Their Agents.

158.   Hub, and its predecessor, Knauff, knew or should have known that their agents,

Pokorney (who was employed by Knauff and then Hub after the merger with Knauff) and

Scott Pokorney (who was employed by Hub beginning in at least August of 2014), were

engaged in the illegal, fraudulent, and unethical conduct as alleged herein.

159.   Despite their actual and constructive knowledge of the foregoing illegal,

fraudulent, and unethical activities on the part of Pokorney and Scott Pokorney, Knauff

and Hub continued to employ them and allowed those activities to continue until Thomas

was indicted in 2017.

160.   Accordingly, Hub is directly and vicariously liable to the District for the damages

sustained as a result of the actions of Pokorney and Scott Pokorney as alleged herein.

                                 CAUSES OF ACTION

                    FOR A FIRST CAUSE OF ACTION
            VIOLATIONS OF THE RACKETEER INFLUENCED AND
           CORRUPT ORGANIZATIONS ACT, 18 U.S.C. §§ 1961, et seq.
                               (“RICO”)
                             All Defendants

161.   Plaintiff hereby incorporates by reference, as if fully set forth herein, each and

every allegation asserted in the preceding and following paragraphs, including each and

every factual and legal allegation hereinbefore and hereinafter alleged, and hereby re-

adopts and re-alleges each such allegation.

162.   The District is a “person” within the meaning of 18 U.S.C. §§ 1961(3)

and 1964(c) of the Racketeer Influenced and Corrupt Organizations Act (“RICO”).

163.   Each Defendant is a "person" within the meaning of 18 U.S.C. §§ 1961(3)

and 1962(c) and (d), including Thomas, who is sued herein in his individual capacity.




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                             I. Pattern of Racketeering Activity


164.      The following acts of racketeering began by at least 2007 and continued through

at least 2016, and form a pattern of continuous and interrelated racketeering activity

within the meaning of RICO.

165.      Defendants conducted or participated in the conduct of the enterprise's affairs

through a pattern of racketeering activity consisting of, inter alia, more than two acts of

mail fraud and wire fraud in violation of 18 U.S.C. §§ 1341 and 1343, as asserted in the

Information filed by the United States Attorney for the District of South Carolina, the

wire fraud charges to which Thomas has entered a plea of guilty, as well as violations of

South Carolina bribery statutes.

166.      The foregoing predicate acts have the same or similar purposes (defrauding the

District through payments to Thomas in exchange for steering insurance business to the

Insurance Defendants), results (awarding insurance business to the Insurance Defendants

or maintaining existing business in exchange for kickbacks and bribes), participants

(Thomas and the Insurance Defendants), victims (the District and the children and

taxpayers of Berkeley County, as well as other school districts throughout the state of

South Carolina), and/or methods of commission (payments to Thomas by the Insurance

Defendants by check, services, accommodations, meals, and/or travel as kickbacks or

bribes). They are interrelated by their distinguishing characteristics and are not isolated

events.

167.       As part of this pattern, continuing over the course of years, by using, inter alia,

the mails, private interstate carriers and interstate wire communications, the Defendants

through their enterprise, defrauded the District continuously during the period between



                                              37
2007 and 2016. In particular, without limitation, in violation of 18 U.S.C. §§ 1341

and 1343, Defendants employed the Postal Service and/or private or commercial

interstate carriers and/or interstate wire communications to send their emails, letters, and

invoices, to the District, and to Thomas, and to receive from the District the payment of

fees and associated expenses.


                        A.      Wire Fraud in Violation of 18 U.S.C. §§
                                1343 and 1346.

168.   Beginning in or about 2007, and continuing until at least November, 2016,

Thomas and the Insurance Defendants knowingly and willfully devised and intended to

devise and participated in, a scheme to defraud the District and the citizens of Berkeley

County.

169.   The Federal Information (Exhibit A) charges, and Thomas has admitted by his

entry of a plea of guilty, that beginning in or about March, 2010, and continuing until in

or about November, 2016, Thomas and others “knowingly and willfully devised and

intended to devise, and participated in, a scheme to defraud the BCSD and the citizens of

Berkeley County by depriving them of their intangible right to [Thomas’] honest services

as [the District’s] Chief Financial Officer.” (Exhibit A.)

170.   The “others” referred to in the Information are, upon information and belief, the

Insurance Defendants.

171.   Thomas, as the District’s Chief Financial Officer, was involved in obtaining

insurance contracts and selecting who would broker those contracts. Because of his

position of trust, Thomas was involved with awarding insurance policy contracts and

business to the Insurance Defendants.




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172.   In his position as the District’s Chief Financial Officer, Thomas steered the

District’s insurance policy purchases and consulting services to the Insurance Defendants

in exchange for which Thomas accepted kickbacks from the Insurance Defendants, in

particular, Pokorney.

173.   The purpose of the scheme was to use Thomas’ official influence and position as

the District’s Chief Financial Officer to enrich Thomas and the Insurance Defendants by

Thomas’ steering insurance business to the Insurance Defendants in return for cash

payments, or kickbacks, paid by the Insurance Defendants.

174.   It was part of the scheme to defraud that kickbacks were paid to Thomas by

personal check, which Thomas deposited in his personal account. As a part of the

scheme to defraud, Thomas, beginning in at least March, 2010, received approximately

16 checks of $2,000.00 each, described infra, for a total of $32,000.00 in kickbacks in the

form of personal checks.

175.   On or about February 15, 2013, the Insurance Defendants transmitted and caused

to be transmitted by means of wire and radio communication in interstate commerce, a

check in the amount of $2,000.00 made out to Thomas as a kickback for steering

insurance business to the Insurance Defendants, which Thomas deposited in his personal

account.

176.   On or about May 20, 2013, the Insurance Defendants transmitted and caused to be

transmitted by means of wire and radio communication in interstate commerce, a check

in the amount of $2,000.00 made out to Thomas as a kickback for steering insurance

business to the Insurance Defendants, which Thomas deposited in his personal account.

177.   On or about October 2, 2013, the Insurance Defendants transmitted and caused to




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be transmitted by means of wire and radio communication in interstate commerce, a

check in the amount of $2,000.00 made out to Thomas as a kickback for steering

insurance business to the Insurance Defendants, which Thomas deposited in his personal

account.

178.   On or about March 12, 2014, the Insurance Defendants transmitted and caused to

be transmitted by means of wire and radio communication in interstate commerce, a

check in the amount of $2,000.00 made out to Thomas as a kickback for steering

insurance business to the Insurance Defendants, which Thomas deposited in his personal

account.

179.   On or about December 4, 2014, the Insurance Defendants transmitted and caused

to be transmitted by means of wire and radio communication in interstate commerce, a

check in the amount of $2,000.00 made out to Thomas as a kickback for steering

insurance business to the Insurance Defendants, which Thomas deposited in his personal

account.

180.   On or about March 24, 2015, the Insurance Defendants transmitted and caused to

be transmitted by means of wire and radio communication in interstate commerce, a

check in the amount of $2,000.00 made out to Thomas as a kickback for steering

insurance business to the Insurance Defendants, which Thomas deposited in his personal

account.

181.   On or about July 25, 2015, the Insurance Defendants transmitted and caused to be

transmitted by means of wire and radio communication in interstate commerce, a check

in the amount of $2,000.00 made out to Thomas as a kickback for steering insurance

business to the Insurance Defendants, which Thomas deposited in his personal account.




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182.   On or about October 20, 2015, the Insurance Defendants transmitted and caused

to be transmitted by means of wire and radio communication in interstate commerce, a

check in the amount of $2,000.00 made out to Thomas as a kickback for steering

insurance business to the Insurance Defendants, which Thomas deposited in his personal

account.

183.   On or about May 23, 2016, the Insurance Defendants transmitted and caused to be

transmitted by means of wire and radio communication in interstate commerce, a check

in the amount of $2,000.00 made out to Thomas as a kickback for steering insurance

business to the Insurance Defendants, which Thomas deposited in his personal account.

184.   On or about November 8, 2016, the Insurance Defendants transmitted and caused

to be transmitted by means of wire and radio communication in interstate commerce, a

check in the amount of $2,000.00 made out to Thomas as a kickback for steering

insurance business to the Insurance Defendants, which Thomas deposited in his personal

account.

185.   The specific official acts taken by Thomas in exchange for bribes and kickbacks

paid by the Insurance Defendants include, but are not limited to:

   a. Committing the District to insurance polices brokered by the Insurance

       Defendants that Thomas and the Insurance Defendants knew were not needed

       and/or were exorbitantly expensive;

   b. Steering the District’s insurance business to the Insurance Defendants;

   c. Committing the District to exorbitant broker’s and consultant’s fees paid to the

       Insurance Defendants;

   d. Causing the issuance of payments to the Insurance Defendants for broker’s and




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        consultant’s fees, despite the Insurance Defendants’ breach of their fiduciary

        duties to the District in their failure to act in the best interests of the District and

        provide sound insurance consultation;

    e. Committing the District to costly insurance reviews conducted by the Insurance

        Defendants which were unnecessary and/or produced no results favorable to the

        District; and

    f. Committing the District to costly insurance premiums and consulting fees paid to

        the Insurance Defendants without conducting any research, or having the

        Insurance Defendants conduct research, as to whether the policies and consulting

        fees were necessary and/or reasonable, and without conducting or reviewing loss

        run reports to determine whether such policies and fees were necessary and/or

        reasonable.

186.    Thomas and the Insurance Defendants engaged in a quid pro quo, inasmuch as

they had specific intent to give or receive something of value in exchange for official

acts.

187.    Thomas agreed to perform all of the foregoing acts at the time of the quid pro

quo.

188.    Thomas understood that he was expected, as a result of the payments by the

Insurance Defendants, to exercise particular kinds of influence connected with his office,

i.e., steering all of the District’s insurance business to the Insurance Defendants, as

specific opportunities arose.

189.    Thomas and the Insurance Defendants engaged in a course of conduct of cash,

favors, and gifts flowing to Thomas in exchange for a pattern of official actions favorable




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to the Insurance Defendants.

190.   Thomas has entered a plea of guilty to Honest Services Wire Fraud in violation of

18 U.S.C. §§ 1343 and 1346 for his participation in the foregoing scheme, thereby

admitting that he fraudulently deprived the District of his honest services by engaging in

the scheme, and that he engaged in the scheme with others, who are, upon information

and belief, the Insurance Defendants.


               B.       Mail Fraud in Violation of 18 U.S.C. §§ 1341 and 1346


191.   The foregoing acts also amount to mail fraud in violation of 18 U.S.C. § 1341, as

Thomas and the Insurance Defendants knowingly caused the use of the mails for the

purpose of executing their scheme or artifice to defraud, using Thomas’ home mailing

address to send kickbacks and bribes to him for the purpose of executing their scheme to

defraud the District.

192.   In addition, as charged in Count III of the South Carolina grand jury’s indictment

handed down on November 15, 2017 (the “Indictment”), on or about November 29, 2007,

while Thomas was responsible for the safekeeping, transfer, and disbursement of public

funds, he embezzled and converted to his own use $22,700.00 of public school funds, by

deliberately causing the District to overpay a vendor, and then having the vendor send a

refund of the overpayment to his home address, upon which the funds were converted to

his personal use.

193.   As charged in the Indictment, the foregoing was in violation of Section 16-13-210

of the South Carolina Code of Laws. Thomas will enter a plea of guilty to the charge.

194.   The vendor to which Count III of the South Carolina Indictment refers is, upon




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information and belief, Knauff/Hub, and the individual who refunded the overpayment to

Thomas, by sending it in the mail to Thomas’ home address, was Pokorney.

195.   The payment of $22,700.00 to Thomas was a bribe, paid to Thomas by the

Insurance Defendants in exchange for his influence as the District’s Chief Financial

Officer in charge of procuring insurance policies for the District and determining who

would be awarded such business.

196.   Thus, on November 29, 2007, Knauff/Hub and Pokorney engaged in a scheme

with Thomas pursuant to which Knauff/Hub and Pokorney defrauded the District by

overcharging it for premiums and/or consulting services and paid Thomas $22,700.00 out

of the proceeds as a bribe and/or kickback.

197.   The specific official acts taken by Thomas in exchange for bribes and kickbacks

paid by the Insurance Defendants include, but are not limited to:

   a. Committing the District to insurance polices brokered by the Insurance

       Defendants that Thomas and the Insurance Defendants knew were not needed

       and/or were exorbitantly expensive;

   b. Steering the District’s insurance business to the Insurance Defendants;

   c. Committing the District to exorbitant broker’s and consultant’s fees paid to the

       Insurance Defendants;

   d. Causing the issuance of payments to the Insurance Defendants for broker’s and

       consultant’s fees, despite the Insurance Defendants’ breach of their fiduciary

       duties to the District in their failure to act in the best interests of the District and

       provide sound insurance consultation;

   e. Committing the District to costly insurance reviews conducted by the Insurance




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        Defendants which were unnecessary and/or produced no results favorable to the

        District; and

    f. Committing the District to costly insurance premiums and consulting fees paid to

        the Insurance Defendants without conducting any research, or having the

        Insurance Defendants conduct research, as to whether the policies and consulting

        fees were necessary and/or reasonable, and without conducting or reviewing loss

        run reports to determine whether such policies and fees were necessary and/or

        reasonable.

198.    Thomas and the Insurance Defendants engaged in a quid pro quo, inasmuch as

they had specific intent to give or receive something of value in exchange for official

acts.

199.    Thomas agreed to perform all of the foregoing acts at the time of the quid pro

quo.

200.    Thomas understood that he was expected, as a result of the payments by the

Insurance Defendants, to exercise particular kinds of influence connected with his office,

i.e., steering all of the District’s insurance business to the Insurance Defendants, as

specific opportunities arose.

201.    Thomas and the Insurance Defendants engaged in a course of conduct of cash,

favors, and gifts flowing to Thomas in exchange for a pattern of official actions favorable

to the Insurance Defendants.




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               C.      Bribery of Public Official in Violation of S.C. Code §§ 16-9-210
                       and 16-9-220.

202.   The Insurance Defendants corruptly gave, offered, and promised to Thomas, after

his appointment to public office, gifts and gratuities, in the form of cash (as alleged

supra), accommodations, travel, meals, and services, with intent to influence his acts,

opinions, decisions, and judgment on insurance matters that came before him in his

official capacity as the Chief Financial Officer of the District, in violation of S.C. Code §

16-9-210.

203.   Violation of Section 16-9-210 is punishable by imprisonment in the State

Penitentiary at hard labor not exceeding five years or by a fine not exceeding three

thousand dollars and imprisonment in jail not exceeding one year.

204.   Thomas, the Chief Financial Officer of the District, corruptly accepted gifts and

gratuities, in the form of cash, accommodations, travel, meals, and services, to do acts

beneficial to Thomas under an agreement and/or understanding that his judgment would

be given in favor of continued or additional business with the Insurance Defendants on

insurance matters brought before him in his official capacity, in violation of S.C. Code §

16-9-220.

205.   Violation of Section 16-9-220 is punishable by imprisonment in the State

Penitentiary at hard labor not exceeding ten years or by fine not exceeding five thousand

dollars and imprisonment in jail not exceeding two years.

206.   In addition to the foregoing cash payments, which Thomas has admitted were

kickbacks by entering his plea of guilty, Thomas received kickbacks from the Insurance

Defendants in the form of meals, accommodations, services, and gifts, as alleged herein

in exchange for exercising his influence to steer the District’s insurance business to the



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Insurance Defendants, including, but not limited to, the provision of meals,

accommodations, services, and gifts to Thomas and the District’s then Risk Manager in

August 2016, all in an effort to obtain and/or maintain insurance business from the

District and defraud the District.

207.   Defendants’ violations of Sections 16-9-210 and 16-9-220 are predicate offenses

amounting to racketeering activity pursuant to 18 USCS § 1961 (1) (A), as bribery

chargeable under State law and punishable by imprisonment for more than one year.

                         II.     Violation of 18 U.S.C. § 1962(c).

208.   The Insurance Defendants and Thomas combined and conspired to form an

ongoing organization and "enterprise" within the meaning of 18 U.S.C. §§ 1961(4)

and 1962(c), the purpose of which was to defraud the District and the taxpayers of

Berkeley County out of tens of millions of dollars in unnecessary insurance premiums

and sham consulting and broker’s fees.

209.   Defendants’ enterprise was an association in fact with an identifiable structure

and with specific divisions of responsibility with respect to the efforts to defraud the

District and the taxpayers of Berkeley County by conspiring and representing to the

District that it needed certain insurance and insurance reviews, which it did not need, and

failing to advise the District in accordance with their fiduciary duties, for the sole purpose

of charging sham consulting fees payable to the Insurance Defendants, in exchange for

which Thomas was rewarded with bribes and kickbacks from the Insurance Defendants.

210.   The enterprise engaged in, and its activities affected, interstate commerce,

including the provision of brokerage and consulting services across state lines. The

Insurance Defendants are located in the State of North Carolina, and the District is




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located in the State of South Carolina. The enterprise and its activities thereby affected

interstate commerce within the meaning of 18 U.S.C. § 1962(c).

211.    Defendants conducted and participated in the conduct of the enterprise’s illegal

affairs knowingly, through a pattern of racketeering activity as set forth supra.

212.    Defendants' conduct violated 18 U.S.C. §§ 1962(c).


                          III. Violation of 18 U.S.C. § 1962(d)


213.    The Insurance Defendants’ conduct, as set forth herein, was in concert with

Thomas, and planned and pre-arranged with and known by each of the Defendants

pursuant to the enterprise's common scheme to charge sham consulting fees for brokerage

and insurance review; advise the District to procure unnecessary insurance coverage;

engage in mail fraud; fraudulently conceal, obtain, and/or provide illegal kickbacks; and

fraudulently conceal the conspiracy from the District.

214.    Defendants conspired to violate 18 U.S.C. §§ 1962(c) from at least 2007 through

2016.

215.    The Insurance Defendants and Thomas conspired with each other and others

known and unknown to violate 18 U.S.C. § 1962 (c) as detailed at length above, and took

the acts alleged herein, i.e., the payment of, inter alia, cash, services, meals, and

accommodations in exchange for insurance business, in furtherance thereof.

216.    The Insurance Defendants and Thomas entered into agreements to commit the

predicate acts as alleged supra, and knew that the acts were part of a part of a pattern of

racketeering activity.

217.    The object of the conspiracy was to defraud the District of millions of dollars paid




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to the Insurance Defendants, in exchange for which Thomas received bribes and

kickbacks in the form of, inter alia, cash, services, meals, and accommodations.

218.   Defendants' conduct violated 18 U.S.C. § 1962(d).

219.   As a direct and proximate result of the foregoing conduct by Defendants, the

Plaintiff has been damaged and suffered substantial injury within the meaning of 18

U.S.C. § 1964(c) as follows:

   a. The amount paid to the Insurance Defendants for sham consulting and/or broker’s

       fees in the amount of $2,994,311.65; and

   b. The amount paid to the Insurance Defendants on premiums for unnecessary and

       excessive insurance policies purchased by the District upon the advice of

       Defendants for the sole purpose of collecting broker’s fees in the amount of

       $6,799,956.50.

220.   Each Defendant is jointly and severally liable to the BCSD for the foregoing

RICO violations, and treble damages and reasonable attorneys’ fees are demanded in

accordance with 18 U.S.C. § 1964(c).



                        FOR A SECOND CAUSE OF ACTION
                                    FRAUD
                                 All Defendants

221.   Plaintiff hereby incorporates by reference, as if fully set forth herein, each and

every allegation asserted in the preceding and following paragraphs, including each and

every factual and legal allegation hereinbefore and hereinafter alleged, and hereby re-

adopts and re-alleges each such allegation.

222.   The Insurance Defendants and Thomas made false representations of material fact




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to, and fraudulently concealed material facts from, the BCSD by advising the BCSD to

purchase insurance that Defendants knew was unnecessary, and which they knew was

available to the District through the IRF at a much lower premium and without fees, for

the sole purpose of collecting exorbitant advisor fees from the District.

223.   The Insurance Defendants and Thomas also made false representations of material

fact to, and fraudulently concealed material facts from, the BCSD, by conspiring with one

another and providing Thomas with bribes and kickbacks, in exchange for which Thomas

assisted these Defendants in their efforts to procure and maintain the District’s insurance

business.

224.   The Insurance Defendants also made false representations of material fact to, and

fraudulently concealed material facts from, the District, by conspiring with Thomas and

providing him with bribes and kickbacks, in exchange for which Thomas permitted the

Insurance Defendants to conduct expensive and unnecessary insurance reviews of

workers’ compensation and property insurance and ensured that Defendants received

payment for such reviews.

225.   The Insurance Defendants also made false representations of material fact to, and

fraudulently concealed material facts from, the District, by representing to the District

that they were acting in the District’s best interests in charging excessive fees for

unnecessary insurance reviews and in recommending unnecessary insurance coverage.

226.   Defendants knew that the foregoing material facts were false, or recklessly

disregarded their truth or falsity, or fraudulently concealed the truth from the District,

with the intent that their representations and/or concealments be acted upon.

227.   The District had no knowledge of the falsity of the material facts misrepresented




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and concealed by the Insurance Defendants and Thomas and relied upon them to its

detriment and consequent and proximate injury.

228.   The Insurance Defendants’ fraudulent activities were also in violation of S.C.

Code Ann. § 38-43-190, which provides that an insurance producer who “knowingly

procures the payment of a premium of insurance or the obligation for the payment of a

premium of insurance by fraudulent representation is guilty of a misdemeanor and, upon

conviction, must be fined in the discretion of the court or imprisoned not more than three

years, or both.” Id.

229.   Through their conduct as aforesaid, Defendants intended to harm the District by

fleecing it of tens of millions of dollars, and their conduct did in fact harm the District,

which paid tens of millions of dollars in unnecessary, duplicative premiums, and sham

consulting fees.

230.   The damages sustained by the District as a result of fraud perpetrated by the

Defendants are as follows:

   a. The amount paid to the Defendants for sham consulting and/or broker’s fees in

       the amount of $2,994,311.65;

   b. The amount paid to the Defendants on premiums for unnecessary and excessive

       insurance policies purchased by the District upon the advice of Defendants for the

       sole purpose of collecting broker’s fees in the amount of $6,799,956.50; and

   c. Punitive damages because

            i. The District’s harm was the result of Defendants’ willful, wanton and

               reckless conduct;

           ii. Defendants’ conduct was intended to harm the District, which conduct did




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               in fact harm the District;

          iii. Defendant Thomas has pled guilty to and has been convicted of a felony

               arising out of the same act or course of conduct complained of by the

               District and that act or course of conduct is a proximate cause of the

               District’s damages;

          iv. Defendants’ conduct was motivated primarily by unreasonable financial

               gain, and the unreasonably dangerous nature of the conduct, together with

               the high likelihood of injury resulting from the conduct, was known or

               approved by Pokorney, an officer of Defendants; and

           v. Defendants’ actions could subject Defendants to conviction of a felony

               and those acts and course of conduct are a proximate cause of the

               District’s damages.

231.   Each Defendant is jointly and severally liable to the District for all of the acts of

fraud alleged herein.


                         FOR A THIRD CAUSE OF ACTION
                        NEGLIGENT MISREPRESENTATION
                                  All Defendants

232.   Plaintiff hereby incorporates by reference, as if fully set forth herein, each and

every allegation asserted in the preceding and following paragraphs, including each and

every factual and legal allegation hereinbefore and hereinafter alleged, and hereby re-

adopts and re-alleges each such allegation.

233.   The Insurance Defendants and Thomas made false representations of material fact

to, and fraudulently concealed material facts from, the District by advising the District to

purchase insurance that Defendants knew was unnecessary, and which they knew was



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available to the District through the IRF at a much lower premium and without fees, for

the sole purpose of collecting exorbitant advisor fees from the District.

234.   The Insurance Defendants and Thomas also made false representations of material

fact to, and fraudulently concealed material facts from, the District, by conspiring with

one another and providing Thomas with bribes and kickbacks, in exchange for which

Thomas assisted these Defendants in their efforts to procure and maintain the District’s

insurance business.

235.   The Insurance Defendants also made false representations of material fact to, and

fraudulently concealed material facts from, the District, by conspiring with Thomas and

providing him with bribes and kickbacks, in exchange for which Thomas permitted the

Insurance Defendants to conduct expensive and unnecessary insurance reviews of

workers’ compensation and property insurance and ensured that the Insurance Defendants

received payment for such reviews.

236.   The Insurance Defendants also made false representations of material fact to, and

fraudulently concealed material facts from, the District, by representing to the District

that they were acting in the District’s best interests in charging excessive fees for

unnecessary insurance reviews and in recommending unnecessary insurance coverage.

237.    Defendants had pecuniary interests in making the foregoing false representations

to the District. The Insurance Defendants had a pecuniary interest in their receipt of their

sham consultant’s fees for unnecessary and excessive insurance coverage, and Thomas

had a pecuniary interest in his receipt of bribes and kickbacks from the Insurance

Defendants in exchange for his assistance in steering the District’s insurance business to

the Insurance Defendants.




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238.    The Insurance Defendants owed a duty of care to the District as its insurance

consultants and brokers to see that they communicated truthful information to the

District. Thomas also owed a duty of care to the District, as its Chief Financial Officer,

to see that he communicated truthful information to the District.

239.    Defendants breached their duties to the District in failing to provide it with

prudent advice that the District was over-insured.

240.    Defendants breached their duties to the District in failing to properly review the

insurance products the District had purchased from the IRF which were more than

sufficient to cover the District’s insurance needs, and instead advising the District to

purchase excessive insurance for the sole purpose of charging the District exorbitant

consulting fees.

241.    Defendants breached their duties to the District by offering, delivering, and

accepting bribes and kickbacks in an effort to maintain and gain additional insurance

business from the District.

242.    The District justifiably relied on Defendants’ representations that the

recommended insurance policies and consulting fees were necessary and in the District’s

best interests.

243.    The District suffered pecuniary losses as the proximate result its reliance upon

Defendants’ representations, as follows:

    a. The amount paid to the Insurance Defendants for sham consulting and/or broker’s

        fees in the amount of $2,994,311.65; and

    b. The amount paid to the Insurance Defendants on premiums for unnecessary and

        excessive insurance policies purchased by the District upon the advice of




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       Defendants for the sole purpose of collecting broker’s fees in the amount of

       $6,799,956.50.

244.   The District is also entitled to punitive damages because

            i. The District’s harm was the result of Defendants’ willful, wanton and

               reckless conduct;

           ii. Defendants’ conduct was intended to harm the District, which conduct did

               in fact harm the District;

          iii. Defendant Thomas has pled guilty to and has been convicted of a felony

               arising out of the same act or course of conduct complained of by the

               District and that act or course of conduct is a proximate cause of the

               District’s damages;

          iv. Defendants’ conduct was motivated primarily by unreasonable financial

               gain, and the unreasonably dangerous nature of the conduct, together with

               the high likelihood of injury resulting from the conduct, was known or

               approved by Pokorney, an officer of Defendants; and

           v. Defendants’ actions could subject Defendants to conviction of a felony

               and those acts and course of conduct are a proximate cause of the

               District’s damages.

245.   Each Defendant is jointly and severally liable to the District for their negligent

misrepresentations to the District.


                        FOR A FOURTH CAUSE OF ACTION
                               CIVIL CONSPIRACY
                                  All Defendants

246.   Plaintiff hereby incorporates by reference, as if fully set forth herein, each and



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every allegation asserted in the preceding and following paragraphs, including each and

every factual and legal allegation hereinbefore and hereinafter alleged, and hereby re-

adopts and re-alleges each such allegation.

247.    Defendants combined for the purpose of defrauding the District and causing the

District special damage.

248.    Defendants Thomas and the Insurance Defendants conspired and agreed that the

Insurance Defendants would advise the District that it required certain insurance,

insurance reviews, and consulting services, which it did not, and further conspired to

allow the Insurance Defendants to reap exorbitant broker and consultant’s fees from the

District.

249.    Defendants acted in furtherance of the conspiracy by having the District engage

the Insurance Defendants to provide insurance consulting and brokerage services to the

District at exorbitant prices in exchange for which Thomas received kickbacks in the

form of cash, extravagant trips, massages and spa services, and expensive dinners.

250.    Through their conduct as aforesaid, Defendants intended to harm the District by

fleecing it of tens of millions of dollars for their personal gain, and their conduct did in

fact harm the District, which paid tens of millions of dollars in unnecessary, duplicative

premiums and sham consulting fees.

251.    The District suffered special damage as the result of the conspiracy in the form of

    a. The amount paid to the Insurance Defendants for sham consulting and/or broker’s

        fees in the amount of $2,994,311.65;

    b. The amount paid to the Insurance Defendants on premiums for unnecessary and

        excessive insurance policies purchased by the District upon the advice of




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        Defendants for the sole purpose of collecting broker’s fees in the amount of

        $6,799,956.50; and

    c. Punitive damages because

                i. Defendants’ conduct was intended to harm the District, which conduct did

                   in fact harm the District;

            ii. Defendants’ conduct was motivated primarily by unreasonable financial

                   gain, and the unreasonably dangerous nature of the conduct, together with

                   the high likelihood of injury resulting from the conduct, was known or

                   approved by Pokorney, an officer of Defendants; and

           iii. Defendants’ actions could subject Defendants to conviction of a felony

                   and those acts and course of conduct are a proximate cause of the

                   District’s damages.


                             FOR A FIFTH CAUSE OF ACTION
                              BREACH OF FIDUCIARY DUTY
                                      All Defendants

252.    Plaintiff hereby incorporates by reference, as if fully set forth herein, each and

every allegation asserted in the preceding and following paragraphs, including each and

every factual and legal allegation hereinbefore and hereinafter alleged, and hereby re-

adopts and re-alleges each such allegation.

253.    The District imposed a special confidence in Defendants, so that these

Defendants, in equity and good conscience, were bound to act in good faith and with due

regard to the interests of the District, thereby giving rise to fiduciary relationships with

the District.

254.    As the fiduciaries of the District, Defendants owed a clear duty to the District of



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undivided loyalty, absolute faithfulness, and a duty to exercise due care and diligence

with respect to their advice related to the purchase and management of the District’s

insurance needs.

255.   With the fiduciary relationship assumed by Defendants also came the duties and

obligations to keep the District informed of all facts pertinent to and materially affecting

the District’s insurance needs, and to exercise reasonable care, diligence, and prudence in

the performance of their duties.

256.   Defendants breached their fiduciary duties to the District by advising it to

purchase and maintain insurance that was unnecessary and duplicative; charging

exorbitant advisory fees for unnecessary and duplicative insurance policies; charging

exorbitant advisory fees for sham insurance reviews; and conspiring to engage, and

engaging, in a bribery and kickback scheme in an effort to maintain the business

relationship, procure additional insurance business, and charge inflated and fraudulent

consulting fees.

257.   Through their conduct as aforesaid, Defendants intended to harm the District by

fleecing it of tens of millions of dollars, and their conduct did in fact harm the District,

which paid tens of millions of dollars in unnecessary, duplicative premiums and sham

consulting fees.

258.   As a direct and proximate result of Defendants’ breaches of fiduciary duty, the

District suffered the following damages:

   a. The amount paid to the Insurance Defendants for sham consulting and/or broker’s

       fees in the amount of $2,994,311.65;

   b. The amount paid to the Insurance Defendants on premiums for unnecessary and




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       excessive insurance policies purchased by the District upon the advice of

       Defendants for the sole purpose of collecting broker’s fees in the amount of

       $6,799,956.50; and

   c. Punitive damages because

            i. The District’s harm was the result of Defendants’ willful, wanton and

                  reckless conduct;

           ii. Defendants’ conduct was intended to harm the District, which conduct did

                  in fact harm the District;

          iii. Defendant Thomas has pled guilty to and has been convicted of a felony

                  arising out of the same act or course of conduct complained of by the

                  District and that act or course of conduct is a proximate cause of the

                  District’s damages;

          iv. Defendants’ conduct was motivated primarily by unreasonable financial

                  gain, and the unreasonably dangerous nature of the conduct, together with

                  the high likelihood of injury resulting from the conduct, was known or

                  approved by Pokorney, an officer of Defendants; and

           v. Defendants’ actions could subject Defendants to conviction of a felony

                  and those acts and course of conduct are a proximate cause of the

                  District’s damages.

259.   Each Defendant is jointly and severally liable to the District for their breaches of

fiduciary duty.


                    FOR A SIXTH CAUSE OF ACTION
           AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
                             All Defendants



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260.    Plaintiff hereby incorporates by reference, as if fully set forth herein, each and

every allegation asserted in the preceding and following paragraphs, including each and

every factual and legal allegation hereinbefore and hereinafter alleged, and hereby re-

adopts and re-alleges each such allegation.

261.    The District imposed a special confidence in Defendants, so that these

Defendants, in equity and good conscience, were bound to act in good faith and with due

regard to the interests of the District, thereby giving rise to fiduciary relationships with

the District.

262.    As the fiduciaries of the District, Defendants owed a clear duty to the District of

undivided loyalty, absolute faithfulness, and a duty to exercise due care and diligence

with respect to their advice related to the purchase and management of the District’s

insurance needs.

263.    With the fiduciary relationship assumed by Defendants also came the duties and

obligations to keep the District informed of all facts pertinent to and materially affecting

the District’s insurance needs, and to exercise reasonable care, diligence, and prudence in

the performance of their duties.

264.    Defendants breached their fiduciary duties to the District by advising it to

purchase and maintain insurance that was unnecessary and duplicative; charging

exorbitant advisory fees for unnecessary and duplicative insurance policies; charging

exorbitant advisory fees for sham insurance reviews; and conspiring to engage, and

engaging, in a bribery and kickback scheme in an effort to maintain the business

relationship, procure additional insurance business, and charge inflated and fraudulent

consulting fees.




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265.   The Insurance Defendants knew that Thomas was in breach of his fiduciary duties

to the District, and participated in his breach of duty, by offering and providing him with

bribes and kickbacks in exchange for his assistance in steering the District’s insurance

business to the Insurance Defendants.

266.   Thomas knew that the Insurance Defendants were in breach of their fiduciary

duties to the District, and participated in their breaches of duty, by accepting bribes and

kickbacks in exchange for his assistance in steering the District’s insurance business to

the Insurance Defendants.

267.   As a direct and proximate result of Defendants’ aiding and abetting breaches of

fiduciary duty, the District suffered the following damages:

   a. The amount paid to the Insurance Defendants for sham consulting and/or broker’s

       fees in the amount of $2,994,311.65;

   b. The amount paid to the Insurance Defendants on premiums for unnecessary and

       excessive insurance policies purchased by the District upon the advice of

       Defendants for the sole purpose of collecting broker’s fees in the amount of

       $6,799,956.50; and

   c. Punitive damages because

           i. The District’s harm was the result of Defendants’ willful, wanton and

               reckless conduct;

           ii. Defendants’ conduct was intended to harm the District, which conduct did

               in fact harm the District;

          iii. Defendant Thomas has pled guilty to and has been convicted of a felony

               arising out of the same act or course of conduct complained of by the




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               District and that act or course of conduct is a proximate cause of the

               District’s damages;

           iv. Defendants’ conduct was motivated primarily by unreasonable financial

               gain, and the unreasonably dangerous nature of the conduct, together with

               the high likelihood of injury resulting from the conduct, was known or

               approved by Pokorney, an officer of Defendants; and

           v. Defendants’ actions could subject Defendants to conviction of a felony

               and those acts and course of conduct are a proximate cause of the

               District’s damages.

268.   Each Defendant is jointly and severally liable to the District for aiding and

abetting breaches of fiduciary duty.


                       FOR A SEVENTH CAUSE OF ACTION
                                NEGLIGENCE
                                 All Defendants

269.   Plaintiff hereby incorporates by reference, as if fully set forth herein, each and

every allegation asserted in the preceding and following paragraphs, including each and

every factual and legal allegation hereinbefore and hereinafter alleged, and hereby re-

adopts and re-alleges each such allegation.

270.   As the District’s insurance consultants, the Insurance Defendants represented that

they possessed     the degree of learning or skill ordinarily possessed by insurance

consultants in the localities where they rendered their services.

271.   As the District’s Chief Financial Officer, Thomas represented that he possessed

the degree of learning or skill ordinarily possessed by chief financial officers for South

Carolina school districts.



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272.   Defendants owed the District a duty to exercise reasonable care and diligence in

the exercise of their skill in providing insurance brokerage and consulting services.

273.   Defendants breached their duties to the District in failing to provide it with

prudent advice that the District was over-insured.

274.   Defendants breached their duties to the District in failing to properly review the

insurance products the District had purchased from the IRF which were more than

sufficient to cover the District’s insurance needs, and instead advising the District to

purchase excessive insurance for the sole purpose of charging the District with exorbitant

consulting fees.

275.   Defendants breached their duty to the District by offering, delivering, and

accepting bribes and kickbacks in an effort to maintain and gain additional insurance

business from the District.

276.   As a direct and proximate result of the Defendants’ negligence as aforesaid, the

District has been damaged in the amount of

   a. The amount paid to the Insurance Defendants for sham consulting and/or broker’s

       fees in the amount of $2,994,311.65; and

   b. The amount paid to the Insurance Defendants on premiums for unnecessary and

       excessive insurance policies purchased by the District upon the advice of

       Defendants for the sole purpose of collecting broker’s fees in the amount of

       $6,799,956.50.

277.   Each Defendant is jointly and severally liable to the District for their negligence

as aforesaid.


                        FOR AN EIGHTH CAUSE OF ACTION



                                             63
                NEGLIGENCE PER SE/VIOLATION OF STATUTE
                         The Insurance Defendants


278.   Plaintiff hereby incorporates by reference, as if fully set forth herein, each and

every allegation asserted in the preceding and following paragraphs, including each and

every factual and legal allegation hereinbefore and hereinafter alleged, and hereby re-

adopts and re-alleges each such allegation.

279.   By statute in South Carolina, an insurance producer who “knowingly procures the

payment of a premium of insurance or the obligation for the payment of a premium of

insurance by fraudulent representation is guilty of a misdemeanor and, upon conviction,

must be fined in the discretion of the court or imprisoned not more than three years, or

both.” S.C. Code Ann. § 38-43-190.

280.   The Insurance Defendants knowingly procured the payment of premiums of

insurance from the District by fraudulently misrepresenting the District’s need for the

insurance procured, fraudulently concealing their conspiracy with Thomas, and providing

him with bribes and kickbacks, in exchange for which Thomas assisted Defendants in

their efforts to procure and maintain the District’s insurance business.

281.   Under South Carolina insurance law, an “insurance broker” is defined as “a

property and casualty insurance producer licensed by the director or his designee

who…….”sells, solicits, or negotiates insurance on behalf of an insured” or who “takes

or transmits other than for himself an application for insurance or a policy of insurance to

or from an insured…” S.C. Code Ann. § 38-45-10.

282.   At all times relevant herein, the Insurance Defendants were “insurance brokers”

under South Carolina law.




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283.   Pursuant to S.C. Code Ann. § 38-45-160, “No policy fee may be charged by a

broker unless it is a reasonable fee, it is made part of the contract, and the broker’s

premium tax rate is paid upon the policy fee. If for any reason the director or his designee

disapproves the placement or the insurer ultimately refuses to write the risk, the broker

shall immediately refund the full policy fee to the policyholder.” Id.

284.   Thus, a broker’s receipt of a fee from the insured and a commission from an

insurance company is not permitted by law without full disclosure to the client, and the

fee charged, if disclosed, must be reasonable.

285.   In violation of the foregoing statutes, the Insurance Defendants received

commissions from insurers for having sold policies to the District, while also charging

exorbitant “consultant’s fees” and “broker’s fees” to the District, without disclosing that

information to the District beforehand.

286.   The foregoing statutory provisions give rise to a duty on the part of the Insurance

Defendants to refrain from charging unreasonable broker’s fees without full disclosure,

and from engaging in fraudulent misrepresentation in procuring insurance, both of which

duties were breached by the Insurance Defendants.

287.   The essential purpose of the foregoing statutes is to protect from the kind of harm

the District has suffered.

288.   The District is a member of the class of persons the foregoing statutes are

intended to protect.

289.   As a direct and proximate result of the foregoing statutory violations, the District

suffered damages as follows:

   a. The amount paid to the Insurance Defendants for sham consulting and/or broker’s




                                            65
   fees in the amount of $2,994,311.65;

b. The amount paid to the Insurance Defendants on premiums for unnecessary and

   excessive insurance policies purchased by the District upon the advice of

   Defendants for the sole purpose of collecting broker’s fees in the amount of

   $6,799,956.50; and

c. Punitive damages because

       i. The District’s harm was the result of Defendants’ willful, wanton and

          reckless conduct;

      ii. Defendants’ conduct was intended to harm the District, which conduct did

          in fact harm the District;

      iii. Defendant Thomas has pled guilty to and has been convicted of a felony

          arising out of the same act or course of conduct complained of by the

          District and that act or course of conduct is a proximate cause of the

          District’s damages;

      iv. Defendants’ conduct was motivated primarily by unreasonable financial

          gain, and the unreasonably dangerous nature of the conduct, together with

          the high likelihood of injury resulting from the conduct, was known or

          approved by Pokorney, an officer of Defendants; and

      v. Defendants’ actions could subject Defendants to conviction of a felony

          and those acts and course of conduct are a proximate cause of the

          District’s damages.


                      FOR A NINTH CAUSE OF ACTION
                                CONVERSION



                                       66
                                        All Defendants


290.    Plaintiff hereby incorporates by reference, as if fully set forth herein, each and

every allegation asserted in the preceding and following paragraphs, including each and

every factual and legal allegation hereinbefore and hereinafter alleged, and hereby re-

adopts and re-alleges each such allegation.

291.    Defendants assumed and exercised the right of ownership over funds belonging to

the District to the exclusion of the District’s rights.

292.    Thomas assumed and exercised the right of ownership over refunds belonging to

the District to the exclusion of the District’s rights in the amount of $22,700.00.

293.    The Insurance Defendants assumed and exercised the right over ownership over

funds paid for commissions that were procured through fraud, to the exclusion of the

District’s rights.

294.    As a direct and proximate result of Defendants’ conversion, the District has

suffered the following damages:

    a. The amount paid to the Insurance Defendants for sham consulting and/or broker’s

        fees in the amount of $2,994,311.65; and

    b. The amount paid to the Insurance Defendants on premiums for unnecessary and

        excessive insurance policies purchased by the District upon the advice of

        Defendants for the sole purpose of collecting broker’s fees in the amount of

        $6,799,956.50.

    c. The amount the Insurance Defendants paid to Thomas for a refund of $22,700.00.




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                          FOR A TENTH CAUSE OF ACTION
                              CONSTRUCTIVE TRUST
                                   All Defendants

295.    Plaintiff hereby incorporates by reference, as if fully set forth herein, each and

every allegation asserted in the preceding and following paragraphs, including each and

every factual and legal allegation hereinbefore and hereinafter alleged, and hereby re-

adopts and re-alleges each such allegation.

296.    Plaintiff was in a confidential and fiduciary relationship with the Defendants in

which Plaintiff reposed special confidence in Defendants, so that Defendants, in equity

and good conscience, were bound to act in good faith and with due regard to the interests

of the District.

297.    Defendants acquired funds from the District through a breach of trust and

violations of their fiduciary duties.

298.    Through their fraudulent schemes as aforesaid, Defendants obtained money which

does not equitably belong to them and which they cannot in good conscience retain or

withhold from the District, which is beneficially entitled to it.

299.    The constructive trust created warrants an award of damages against Defendants

in the amount paid to the Insurance Defendants for sham consulting and/or broker’s fees

totaling $2,994,311.65.


                      FOR AN ELEVENTH CAUSE OF ACTION
                             UNJUST ENRICHMENT
                                 All Defendants

300.    Plaintiff hereby incorporates by reference, as if fully set forth herein, each and

every allegation asserted in the preceding and following paragraphs, including each and

every factual and legal allegation hereinbefore and hereinafter alleged, and hereby re-



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adopts and re-alleges each such allegation.

301.      In connection with the fraudulent scheme as aforesaid, each of the Defendants

received moneys paid by BCSD, purportedly for, among other things, the provision of

professional services. In fact, Defendants knew that, rather than receiving valuable

professional services, Plaintiff was being charged for exorbitant consulting and broker

fees for unnecessary insurance policies.

302.      Consequently, Defendants were unjustly enriched at the expense of the District,

and Defendants are not, therefore, entitled to retain any of these moneys and should be

required to repay all sham consulting and/or broker’s fees totaling $2,994,311.65.

303.      Each Defendant is jointly and severally liable to the BCSD for unjust enrichment.


                                     JURY DEMAND

       Plaintiff hereby requests a jury trial, as a matter of right, on all claims alleged

herein.


       WHEREFORE, Plaintiff, Berkeley County School District, by counsel, respectfully

requests this Court to enter judgment in its favor against Defendants in the amount of

$29,382,831.40, or trebled damages of the above stated $9,794,277.15, or other amount

to be determined at trial, plus punitive damages, pre-judgment and post-judgment interest

at the maximum rate allowed by law, reasonable attorneys’ fees, Court costs, and such

further relief as the Court deems just.




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                                  SMYTH WHITLEY, LLC

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                                  School District

Charleston, South Carolina
March 19, 2018




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